UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

JANE DOE,

            Plaintiff,

      v.                         Civil Action No. 25-1569

THOMAS BLAHA,

            Defendant.




             PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT
            OF MOTION FOR LEAVE TO PROCEED ANONYMOUSLY



                                   Jack McNeily
                                   Priya Purohit (pro hac vice forthcoming)
                                   LATHAM & WATKINS LLP
                                   330 North Wabash Ave., Suite 2800
                                   Chicago, IL 60611
                                   Telephone: (312) 876-7700
                                   Facsimile: (312) 993-9767
                                   Email: Jack.McNeily@lw.com
                                          Priya.Purohit@lw.com

                                   Wenyi Gu
                                   LATHAM & WATKINS LLP
                                   1271 Avenue of the Americas
                                   New York, NY 10020
                                   Telephone: (212) 906-1200
                                   Facsimile: (212) 751-4864
                                   Email: Wendy.Gu@lw.com
                                   Attorneys for Plaintiff Jane Doe
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                                           BACKGROUND
        Plaintiff, by and through this Motion, seeks to proceed anonymously in this action by using

a pseudonym in the Complaint and all other filings.

        Plaintiff, a victim of child sexual exploitation, sex trafficking, and abuse brings this action

against the perpetrator of those crimes, Defendant Thomas Blaha, for violations of federal criminal

statutes governing child sexual exploitation and abuse and child sex trafficking. Defendant

pleaded guilty to criminal sexual exploitation of Plaintiff and is currently serving a 200-month

prison sentence as a result of his criminal conduct.

        Plaintiff seeks to proceed anonymously due to the highly personal and sensitive nature of

the facts of this case, including graphic details of the heinous sexual abuse Plaintiff suffered by

Defendant while only a minor child. Given the serious and sensitive nature of the facts of this

case, Plaintiff will suffer significant personal embarrassment and further psychological and

emotional injury if forced to proceed in this action using her real name. Plaintiff’s identity has

been kept anonymous in the related criminal action, United States v. Blaha, 20-cr-220 (E.D.N.Y),

which was based on an identical set of facts. Allowing Plaintiff to proceed anonymously in this

civil case is necessary to protect Plaintiff’s strong privacy interests both now and in the future.

Granting this Motion will not impose any prejudice on Defendant, who is fully aware of the facts

of this case as well as Plaintiff’s identity.

        Accordingly, Plaintiff respectfully requests that the Court grant this Motion and permit

Plaintiff to file a Complaint and proceed in this litigation anonymously, using the pseudonym “Jane

Doe.”




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                                          ARGUMENT
       A.      Courts Consistently Permit Plaintiffs To Proceed Anonymously Under These
               Circumstances

       Federal Rule of Civil Procedure (“Rule”) 10(a) provides that “[t]he title of the complaint

must name all the parties.” Further, Rule 17 states that every action shall be prosecuted in the

name of the real party in interest. Nevertheless, courts are not strictly bound by these Rules and

retain broad discretion to permit a plaintiff to bring an action anonymously. Doe No. 2 v. Kolko,

242 F.R.D. 193, 195 (E.D.N.Y. 2006) (“Whether to allow a plaintiff to proceed anonymously is

within the court’s discretion.”). Courts permit parties to preserve their anonymity in judicial

proceedings where “the party’s need for anonymity outweighs [1] prejudice to the opposing party

and [2] the public’s interest in knowing the party’s identity.” Sealed Plaintiff v. Sealed Defendant,

537 F.3d 185, 189 (2d Cir. 2008) (quoting Does I Thru XXIII v. Advanced Textile Corp., 214 F.3d

1058, 1068 (9th Cir. 2000)); Kolko, 242 F.R.D. at 195. In particular, courts have recognized the

importance of anonymity for victims of sexual assault. See, e.g., Kolko, 242 F.R.D. at 195

(“[S]exual assault victims are a paradigmatic example of those entitled to a grant of anonymity.”);

Doe v. Vassar Coll., 2019 WL 5963482, at *1 (S.D.N.Y. Nov. 13, 2019) ( “Courts have recognized

the important public interest in protecting the identities of sexual assault victims to ensure that

other victims would not be deterred from reporting similar crimes.”).

       The Second Circuit instructs that “when determining whether a plaintiff may be allowed to

maintain an action under a pseudonym, the plaintiff’s interest in anonymity must be balanced

against both the public interest in disclosure and any prejudice to the defendant.” Sealed Plaintiff,

537 F.3d at 189. The Second Circuit has identified ten non-exhaustive factors that a district court

may consider as part of that balancing determination:

       (1)     whether the litigation involves matters that are highly sensitive and of a
               personal nature;

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       (2)    whether identification poses a risk of retaliatory physical or mental harm to
              the party seeking to proceed anonymously or even more critically, to
              innocent non-parties;

       (3)    whether identification presents other harms and the likely severity of those
              harms, including whether the injury litigated against would be incurred as a
              result of the disclosure of the plaintiff’s identity;

       (4)    whether the plaintiff is particularly vulnerable to the possible harms of
              disclosure, particularly in light of their age;

       (5)    whether the suit is challenging the actions of the government or that of
              private parties;

       (6)    whether the defendant is prejudiced by allowing the plaintiff to press their
              claims anonymously, whether the nature of that prejudice (if any) differs at
              any particular stage of the litigation, and whether any prejudice can be
              mitigated by the district court;

       (7)    whether the plaintiff’s identity has thus far been kept confidential;

       (8)    whether the public’s interest in the litigation is furthered by requiring the
              plaintiff to disclose their identity;

       (9)    whether, because of the purely legal nature of the issues presented or
              otherwise, there is an atypically weak public interest in knowing the
              litigants’ identities; and

       (10)   whether there are any alternative mechanisms for protecting the
              confidentiality of the plaintiff.

Id. at 189-90 (cleaned up). While a district court is not required to apply each of the foregoing

factors in every case, it must consider and give appropriate weight to a plaintiff’s interests in

anonymity. Id. at 190-91 & n.4; see also Doe on behalf of Doe No. 1 v. Nygard, 2020 WL 4890427,

at *2 (S.D.N.Y. Aug. 20, 2020).

       Here, as explained below, the application of the Sealed Plaintiff factors overwhelmingly

supports granting Plaintiff’s motion to proceed anonymously.




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         B.     Plaintiff Is Entitled To Proceed Anonymously Under The Sealed Plaintiff
                Factors

                1.      Factor One: The Litigation Involves Matters Of The Most Highly
                        Sensitive And Personal Nature Conceivable

         This action—which Plaintiff files to address Defendant’s sexual exploitation, trafficking,

and abuse of Plaintiff as a minor—is of the most highly sensitive and personal nature imaginable.

Courts in the Second Circuit have repeatedly recognized the inherently sensitive and personal

nature of sexual assault allegations, reiterating that “sexual assault victims are a paradigmatic

example of those entitled to a grant of anonymity.” Kolko, 242 F.R.D. at 195. This is, at least in

part, because sexual assault victims “endure[d] a terrible invasion of their physical privacy[,]” and

therefore “have a right to expect that this violation will not be compounded by a further invasion

of their privacy.” Id. at 196 (citation omitted). That Plaintiff was a minor at the time of

Defendant’s sexual abuse “further amplif[ies] [her] right to privacy.” Nygard, 2020 WL 4890427,

at *3.

         In particular, the Complaint recounts in graphic detail the sexual abuse that Plaintiff, then

a minor, suffered at Defendant’s hands, including instances where: (1) Plaintiff’s sister took

sexually explicit videos and photographs of Plaintiff to send to Defendant (Compl. ¶ 13); (2)

Defendant forcibly drugged and raped Plaintiff (while Plaintiff was conscious and unconscious)

(Compl. ¶¶ 15-17); (3) Defendant restrained Plaintiff so that she could not resist his sexual assault

(Compl. ¶ 18); (4) Defendant forced Plaintiff to perform oral and anal sex on him (Compl. ¶ 18);

and (5) Defendant videotaped the sexual assault (Compl. ¶ 18). The Complaint also describes both

the physical and psychological trauma, including the suicidal thoughts, that Plaintiff has suffered

as a result of Defendant’s horrific abuse. Compl. ¶¶ 20, 22, 28. Given the extreme sensitivity and

personal nature of these allegations, Factor One alone should be dispositive in permitting Plaintiff

to proceed anonymously. See Kolko, 242 F.R.D. at 196, 98 (granting anonymity in child sexual

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assault case, noting that courts have granted anonymity in cases involving “matters of the utmost

intimacy, including sexual assault”); Nygard, 2020 WL 4890427, at *3 (granting anonymity in

child sexual assault case, reiterating “this litigation involves matters that are highly sensitive and

personal in nature”); Vassar Coll., 2019 WL 5963482, at *2 (granting anonymity in sexual assault

case where “[t]here is little question that the instant case involves matters that are highly sensitive

or of a personal nature”).

                2.      Factors Two, Three, And Four: Plaintiff Faces, And Is Particularly
                        Vulnerable To, Risk Of Harm From Disclosure Of Her Identity

        Requiring Plaintiff to publicly disclose her identity in this action would expose her to

significant risks of retaliatory harm and reliving the psychic harms first suffered as a result of

Defendant’s sexual abuse of her.

        To warrant anonymity, the potential retaliatory harm may be physical or mental. Sealed

Plaintiff, 537 F.3d at 190. The threat of retaliation need not come from the defendant himself;

rather, it may come from the general community or even non-parties. See Doe v. Smith, 105 F.

Supp. 2d 40, 45 (E.D.N.Y. 1999) (“[C]ourts have allowed plaintiffs to proceed anonymously where

disclosure of their identities created a risk of harm from third parties unaffiliated with the case.”).

Courts have recognized that victims of sexual assault against children may be subject to retaliation

from their communities if forced to litigate against their perpetrators publicly. See Kolko, 242

F.R.D. at 197 (granting anonymity in child sexual assault case after determining that “[g]iven the

ease with which the public could access court files in this case, it is reasonable that plaintiff’s fears

[of retaliation and ostracism]” were supported).

        Further, public disclosure of Plaintiff’s identity and intimate details about the abuse that

she suffered as a child will not only humiliate and stigmatize Plaintiff, but will also force her to

relive her past trauma and subject her to further suffer the psychological harms caused by the


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sexual abuse in the first instance. See Doe v. Colgate Univ., 2016 WL 1448829, at *3 (N.D.N.Y.

Apr. 12, 2016) (granting anonymity in sexual assault case where “forcing Plaintiff to reveal his

identity would further exacerbate the emotional and reputational injuries he alleges”); Smith, 105

F. Supp. 2d at 45 (granting anonymity where “harm may result from the plaintiff’s own mental

condition”). Plaintiff is particularly vulnerable to these potential harms given her age. Sealed

Plaintiff, 537 F.3d at 190; see Doe v. Salina, 2024 WL 1259362, at *5 (E.D.N.Y. Mar. 25, 2024)

(“Age is a critical factor in determining whether a party is especially vulnerable to the harms of

disclosure and consequently courts have been readier to protect the privacy interest of minors in

legal proceedings than those of adults.”). This case arises from the heinous sexual abuse,

trafficking, and exploitation that Plaintiff suffered starting when she was approximately eleven or

twelve years old. Compl. ¶ 12; see also Ex. 1,1 Pleading Tr. at 17:17-19:6, United States v. Blaha,

No. 20-cr-220 (E.D.N.Y. Feb. 15, 2022), ECF No. 36 (Defendant pleading guilty to sexual

exploitation of Plaintiff when she was a minor). While Plaintiff is no longer a minor, she is only

eighteen years old, and remains close in time to the abuse that she suffered. See Nygard, 2020 WL

4890427, at *1 (granting motion to proceed anonymously where one of the child sexual abuse

victims was approximately thirty-one years old at the time of suit).

                  3.       Factor Six: Defendant Will Not Be Prejudiced If The Motion Is
                           Granted

         Balanced against the considerable expected harm to Plaintiff if forced to proceed under her

real name, Defendant would suffer no prejudice if Plaintiff is allowed to proceed anonymously.

Defendant is not only aware of Plaintiff’s identity and all of the facts alleged in the Complaint, but

has already pleaded guilty to criminal violations relating to such allegations.



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  All exhibit references are to the Declaration of Jack McNeily submitted herewith in support of the Motion for Leave
to Proceed Anonymously.

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       Courts will allow a plaintiff to proceed anonymously where, as here, the plaintiff’s identify

is known to the defendant. See Kolko, 242 F.R.D. at 198 (“Other than the need to make redactions

and take measures not to disclose plaintiff’s identity, defendants will not be hampered or

inconvenienced merely by plaintiff’s anonymity in court papers. Indeed, defendants already know

plaintiff’s true identity.”). Defendant was Plaintiff’s abuser for several years and is entirely

familiar with the facts of this case, as well as Plaintiff’s identity. Indeed, in pleading guilty to the

parallel criminal case, Defendant acknowledged that he induced Plaintiff to engage in sexually

explicit conduct when he knew Plaintiff was a minor. See Ex. 1, Pleading Tr. at 18:24-19:6, United

States v. Blaha, 20-cr-220 (E.D.N.Y. Feb. 15, 2022), ECF No. 36. Moreover, Plaintiff testified

against Defendant at Defendant’s sentencing hearing, so there is no question that he is aware of

Plaintiff’s identity. See Ex. 2, Criminal Cause for Sentencing, United States v. Blaha, 20-cr-220

(E.D.N.Y. Nov. 2, 2022), ECF No. 49. The sixth factor overwhelmingly favors anonymity.

               4.      Factor Seven: Plaintiff’s Identity Has Thus Far Remained Confidential

       Throughout the parallel criminal case against Defendant arising from the same conduct at

issue in this case, Plaintiff’s identity was kept confidential from the general public. See generally

United States v. Blaha, 20-cr-220 (E.D.N.Y.). The confidential nature of Plaintiff’s identity in this

prior related action favors granting the Motion.

               5.      Factor Eight: There Is No Public Interest In Disclosing Plaintiff’s
                       Identity

       The public interest strongly favors granting Plaintiff’s request to proceed anonymously.

Plaintiff, who has maintained her anonymity to this point, is not a public figure, and her identity

is not otherwise significant to the public. Far from it. In fact, the public “has a strong interest in

protecting the identities of sexual assault victims[, such as Plaintiff,] so that other victims will not

be deterred from reporting such crimes.” Kolko, 242 F.R.D. at 195; Nygard, 2020 WL 4890427,


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at *3. Forcing Plaintiff to disclose her identity in this case would have a chilling effect on the

willingness of other similarly situated victims to bring forth claims of child sexual exploitation,

trafficking, and abuse, out of fear of disclosure, retaliation, and stigmatization.

       The lack of public interest in disclosing Plaintiff’s identity weighs in favor of anonymity.

               6.      Factor Ten: There Is No Alternative Mechanism For Protecting
                       Plaintiff’s Confidentiality

       Finally, the Court should grant the Motion because there is no alternative, narrowly tailored

mechanism for protecting Plaintiff’s identity. By requesting that Plaintiff be permitted to proceed

anonymously—rather than requesting that this action be sealed in its entirety—the Motion limits

the relief sought to the specific needs of the case, balancing Plaintiff’s interests in confidentiality

and non-retaliation against any competing interests in disclosure of resolution of the legal issues

in the case. The lack of alternative mechanism for protecting Plaintiff’s confidentiality weighs in

favor of anonymity.

                                          CONCLUSION
       Taken as a whole, the Sealed Plaintiff factors weigh strongly in favor of granting Plaintiff’s

Motion for Leave to Proceed Anonymously. Plaintiff respectfully requests that this Court allow

her to file a Complaint and proceed in this lawsuit anonymously, using the pseudonym “Jane Doe.”




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Dated: March 21, 2025
       Chicago, Illinois

                           /s/ Jack McNeily
                           Jack McNeily
                           Priya Purohit (pro hac vice forthcoming)
                           LATHAM & WATKINS LLP
                           330 North Wabash Ave., Suite 2800
                           Chicago, IL 60611
                           Telephone: (312) 876-7700
                           Facsimile: (312) 993-9767
                           Email: Jack.McNeily@lw.com
                                   Priya.Purohit@lw.com

                           Wenyi Gu
                           LATHAM & WATKINS LLP
                           1271 Avenue of the Americas
                           New York, NY 10020
                           Telephone: (212) 906-1200
                           Facsimile: (212) 751-4864
                           Email: Wendy.Gu@lw.com

                           Attorneys for Plaintiff Jane Doe




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                             CERTIFICATE OF COMPLIANCE

       I, Jack McNeily, an attorney duly admitted to practice before this Court, hereby certify

pursuant to Local Rule 7.1(c) of the United States District Courts for the Southern and Eastern

Districts of New York (“Local Rules”), that the foregoing Memorandum of Law was prepared

using Microsoft Word and contains 2,382 words in accordance with the Local Rules. In making

this calculation, I have relied on the word count of the word-processing system used to prepare the

document.


Dated: March 21, 2025
       Chicago, Illinois

                                             /s/ Jack McNeily
                                             Jack McNeily




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